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                           THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   NORFOLK DIVISION


R.M.S. TITANIC, INC.,
Successor in interest to Titanic
Ventures, limited partnership,

          Plaintiff,

v.                                                     Civil Action No.: 2:93cv902

The Wrecked and Abandoned
Vessel, . . . believed to be
The RMS TITANIC, in rem,

          Defendant.


     REPLY OF THE TRUSTEES OF THE NATIONAL MARITIME MUSEUM TO THE
            OPPOSITION TO THE AMENDED MOTION TO INTERVENE

          COMES NOW the Trustees of the National Maritime Museum (“NMM”), by and

through its undersigned counsel, replying to the Opposition of RMST to the Trustees of the

National Maritime Museum’s Amended Motion to Intervene (Docket No. 532) (the

“Opposition”).1 NMM replies as follows:

                                   PRELIMINARY STATEMENT

          On November 12, 2018, NMM submitted to RMST a revised letter (the “Letter of

Intent”) outlining a proposed alternative sale transaction to assure RMST that if, for any reason,

the sale of RMST to the Stalking Horse Purchaser is not consummated, RMST could avoid a

liquidation by consummating a sale of substantially all of its assets to NMM, NMNI, and


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     Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in
     the Memorandum in Support of the Trustees of the National Maritime Museum Motion to
     Intervene (Docket No. 475).


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Running Subway Productions, LLC. Indeed, as described in the Letter of Intent and other filings

with this Court, the proposed transaction solves the various issues that RMST has repeatedly

alleged make NMM’s proposal not viable, as the proposed transaction (i) includes a commitment

to provide a loan to RMST and its affiliates of up to $500,000 if necessary to fund their

operations until the proposed transaction can be consummated, (ii) includes committed financing

of approximately $14.8 million to be paid to creditors of RMST and its debtor-affiliates, and

(iii) most importantly, ensures that the Artifact Collection is kept together as an integral whole in

perpetuity at an institution with the resources and expertise to guarantee that it remains available

to posterity for public display and exhibition, historical review, scientific and scholarly research,

and educational purposes. The Opposition makes it clear, however, that RMST finds no comfort

in having this option available and, in the process, makes a number of inaccurate and materially

misleading statements about the proposed transaction and about NMM’s interests in the Artifact

Collection. All the while, RMST, the Stalking Horse Purchaser, and NOAA negotiated a

proposed order approving the sale of RMST to the Stalking Horse Purchaser that, in the opinion

of NMM, is completely devoid of protections sufficient to protect the public interest in the

Artifact Collection.

                                           BACKGROUND

          As this Court is aware, on October 24, 2018, NOAA recommended that this Court

approve the sale of RMST to the Stalking Horse Purchaser. See Docket No. 502. NOAA’s

recommendation was subject to RMST’s and the Stalking Horse Purchaser’s commitment to,

among other things:

                 provide the Court and NOAA at least 60 days notice of, and seek
                 Court approval for, . . . any action that could result in the Titanic
                 Collections (as defined in the [Covenants and Conditions]) no
                 longer being maintained together as an integral whole . . . .


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Id. at 13-14.

          On November 6, in order to address the issues raised by this Court at the hearing held on

October 25, NOAA submitted a proposed order (the “Proposed Order”) approving the sale of

RMST to the Stalking Horse Purchaser. See Docket No. 517-1. The Proposed Order includes

the same requirement that RMST and the Stalking Horse Purchaser provide the Court and

NOAA with at least sixty days’ notice of, and seek Court approval for, any action that could

result in the Artifact Collection no longer being maintained together as an integral whole. See id.

at ¶ H. Additionally, the Proposed Order states that NOAA’s recommendation is conditioned on

RMST and the Stalking Horse Purchaser agreeing to “certain additional conditions intended to

protect the Titanic Collections as an integral whole, and to protect the Titanic wreck site in the

public interest.” Id. at ¶ 6.

          On November 7, RMST stated that the Proposed Order “presents significant challenges”

because, among other things, the Proposed Order “mandates time lines that RMST and PAHL

cannot currently meet, and ignores binding 4th Circuit authority.” Docket No. 518 at 2.

          On November 16, the Stalking Horse Purchaser filed a revised proposed order (the

“Revised Proposed Order”). See Docket No. 527-1. A comparison of the Revised Proposed

Order against the Proposed Order is attached hereto as Exhibit A. Notably, the Revised

Proposed Order does not require that this Court approve any action that would result in the

breakup of the Artifact Collection; rather, it merely provides that any such action “shall be

subject to prior approval of this Court to the extent required by applicable law, including orders

by this Court (including the [Covenants and Conditions] and the United States Court of Appeals




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for the Fourth Circuit.”2 Id. at ¶ G (emphasis added). The Revised Proposed Order also

indicates that NOAA’s recommendation is no longer conditioned on RMST and the Stalking

Horse Purchaser agreeing to additional conditions intended to protect the Artifact Collection as

an integral whole.

          On November 21, NOAA stated that it believes the Revised Proposed Order addresses

the issues raised by this Court at the hearing held on October 25 and that the requirement that

RMST and the Stalking Horse Purchaser provide this Court and NOAA with sixty days’ notice

of an action that would result in a breakup of the Artifact Collection is sufficient to protect the

collection:

                 Because the Court and NOAA will have advance notice of any
                 such proposed action, the Court will have the opportunity to bring
                 the parties before the Court, if necessary, in order to evaluate
                 whether any such proposed action would prevent RMST from
                 fulfilling those promises as to the French artifacts, and thereafter
                 issue any orders it deems appropriate under the circumstances and
                 consistent with its jurisdiction.

Docket No. 530 at 3.

                                            ARGUMENT

    I.    NMM’s proposed transaction minimizes the risk that RMST will liquidate if the sale
          of RMST to the Stalking Horse Purchaser is not consummated.

          The Opposition alleges that NMM’s “continued brinkmanship brings the Debtors closer

to liquidation” when in fact NMM’s continued efforts to set forth a viable alternative sale

transaction mitigates the risk that RMST and its debtor-affiliates will be forced to liquidate.

Opposition at 12. At various points in the Opposition RMST alleges that, if the sale of RMST to

the Stalking Horse Purchaser is not consummated, RMST will be forced to liquidate its assets

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    RMST and the Stalking Horse Purchaser have previously stated that they believe the
    Covenants and Conditions and Fourth Circuit precedent do not prevent the sale of individual
    artifacts in the French Collection. See Docket No. 489 at 3-9 (collecting statements).

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under chapter 7 of the Bankruptcy Code. See, e.g., id. at 6 (“A sale to the Museum . . . is

virtually impossible before the Debtors are liquidated . . . .”); 7 (stating that a chapter 7 trustee

would be appointed if the Court does not approve the sale to the Stalking Horse Purchaser); 12

(“If the proposed sale to PAHL does not close before the end of next month, the Debtors will run

out of cash and likely suffer a conversion to chapter 7 of the Bankruptcy Code.”). These

doomsday predictions are hyperbolic and ignore the content of the Letter of Intent. As described

in the Letter of Intent, NMM has obtained approximately $14.8 million to finance an acquisition

of the Artifact Collection and a commitment to provide a loan to RMST and its affiliates of up to

$500,000 to fund their operations until the acquisition can be consummated. Without such

financing and loan commitments, if the sale to the Stalking Horse Purchaser were, for any

number of reasons, not consummated, RMST and its affiliates would almost surely liquidate.

Fortunately, NMM has continued to work diligently, apparently against RMST’s wishes but

undoubtedly in RMST’s interests, to obtain financing and loan commitments to ensure that a

viable “Plan B” transaction exists should the sale to the Stalking Horse Purchaser fail. As a

result, NMM’s efforts have significantly reduced the risk of liquidation—not, as RMST claims,

increased the risk of liquidation.

          Of course, NMM agrees with RMST that a sale to NMM will require a willing seller and

further action in the Bankruptcy Court. See id. at 6 (“A sale to the Museum . . . would require

both a willing seller and significant action in the Bankruptcy Case by other parties . . . .”).

However, NMM is confident that, should the sale to the Stalking Horse Purchaser fail, RMST’s

advisors and other fiduciaries would work quickly and diligently with other potential purchasers,

including NMM, to pursue a transaction that avoids a liquidation of RMST and that is in the best

interests of the public and RMST’s stakeholders.



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 II.      The interests of NMM, as a premier maritime museum and the leading custodian of
          the United Kingdom’s maritime heritage, in the Artifact Collection are consistent
          with the public interest in the Artifact Collection.

          NMM has represented on numerous occasions that its interests in these proceedings are

twofold: first, as a premier maritime museum that exists to advance the public’s access to its

maritime heritage; and second, as a potential acquirer of the Artifact Collection. NMM’s

interests as a potential acquirer are borne out of its interests as a premier maritime museum and

dates as far back as 1994, when NMM’s then-director acknowledged that, if RMST were to

become bankrupt, NMM would have a responsibility to lead a rescue of the Artifact Collection in

order for the collection to remain intact forever. As such, NMM’s interests in these proceedings

are consistent with the public interest as described in the Covenants and Conditions: for this

historic collection to be kept together and intact and available to posterity for public display and

exhibition, historical review, scientific and scholarly research, and educational purposes.

          The Opposition, strangely, attributes nefarious intentions to NMM, accusing NMM of

seeking to “usurp NOAA’s role as advisor to the Court” and of being “more concerned with

acquiring the Titanic Artifacts at a fire-sale price than it is with protecting the public interest in

keeping the Titanic Artifacts together.” Although NMM disagrees with NOAA’s position that

the Revised Proposed Order will protect the public interest in the Artifact Collection, NMM has

no intention of, nor interest in, usurping NOAA’s role as advisor to the Court. And although

NMM believes that a sale of RMST to a holding company operated by investment vehicles that

refuse to commit to keep the Artifact Collection together as an integral whole is not in the public

interest, NMM does not seek to push RMST toward a liquidation, and would not push RMST

toward a liquidation as a mere negotiation tactic. To the contrary, NMM does not believe that a

liquidation is in the public interest and, as discussed herein and in the Letter of Intent, for that



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reason, NMM has worked tirelessly to minimize the possibility that RMST is pushed toward a

liquidation.

          At the October 25 hearing, this Court stated that it does not approach the law, or anything

else, with a mindset of “let’s just settle for the lesser because we don’t want to wait for the

better.” See Transcript of Proceedings (Docket No. 505) at 78. The “lesser” in this case is a sale

of RMST to a private entity that disagrees with NOAA “whether, if at all, the [Covenants and

Conditions] control or limit RMST’s conduct with respect to the French Artifacts” without

including protections sufficient to ensure that the French Artifacts are not separately sold outside

the scrutiny of highly publicized bankruptcy proceedings. See Docket No. 52 at 14 n. 21. A

sixty day head start in a litigation with no certain outcome is no substitute for this Court using its

powers under the Covenants and Conditions, including under section VII(d)(1) of the Covenants

and Conditions, to ensure today that the public interest in this historic collection is protected for

posterity.

          NMM fears that, without a commitment to keep the Artifact Collection together as an

integral whole, we will one day discover that parts of the ship or worse, that the belongings of

those who perished on that cold April night in 1912, have been sold to private collectors.3 The

Artifact Collection does not belong to RMST—it is held in trust by RMST for the public. This


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    This fear is shared by other museums, charities, institutions and professionals in the maritime
    community. Attached hereto as Exhibits B, C, D, E, F, and G are letters to this Court
    expressing concern that a sale to a private entity may result in the permanent loss of the
    Artifact Collection as an identifiable assemblage submitted by, respectively, (i) Dr. Robert
    Ballard, the discoverer of the R.M.S. Titanic wreck, (ii) Christopher T.C. Dobbs and Dr.
    Frederick Hocker on behalf of the Maritime Archaeology Committee of the International
    Congress of Maritime Museums, (iii) Robert A. Yorke on behalf of the Joint Nautical
    Archaeology Policy Committee, (iv) Helen Bosner-Wilton, Chief Executive of the Mary Rose
    Trust, (v) Stephen C. White, President of the International Congress of Maritime Museums and
    President and CEO of the Mystic Seaport Museum located in Mystic, Connecticut, and (vi) Dr.
    Antony Firth, Director of Fjordr Limited.

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Court should not approve a transaction that does not ensure that the entire Artifact Collection—

the French Collection and the American Collection—remains together in trust and available for

posterity.

                                  RESERVATION OF RIGHTS

          NMM reserves the right to move to intervene in the above-captioned action pursuant to

Fed. R. Civ. P. 24 on grounds other than the grounds stated in the Amended Motion to Intervene.

                                          CONCLUSION

          For the foregoing reasons, it is respectfully submitted that the Amended Motion to

Intervene should continue to be held in abeyance until further order of this Court.




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TRUSTEES OF THE NATIONAL MARITIME MUSEUM

   Dated:     November 30, 2018               Respectfully Submitted,

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                              CERTIFICATE OF SERVICE

The undersigned hereby certifies that the foregoing pleading was electronically filed with the
Court’s ECF system causing ECF notification to be sent to all counsel of record.



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